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                                                                                2009 Jun-16 PM 04:16
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                       MIDDLE DIVISION

WANDA S. WOOD,                          )
                                        )
     Plaintiff,                         )
                                        )
v.                                      ) Case No.: 4:08-CV-2227-VEH
                                        )
PALISADES COLLECTION, LLC,              )
                                        )
     Defendant.                         )
                                        )
                                        )
                                        )



                           ORDER OF DISMISSAL

     The Court having received the Joint Stipulation of Dismissal, doc. #20, in this

case, it is hereby ORDERED, ADJUDGED, and DECREED that this action is

DISMISSED WITH PREJUDICE, costs taxed as paid.

     DONE this the 16th day of June, 2009.




                                            VIRGINIA EMERSON HOPKINS
                                            United States District Judge
